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                         CERTIFICATE OF SERVICE


      I hereby certify that the foregoing was served on all counsel of record by the

Court’s ECF system.

Dated: April 6, 2018

                                             CASEY, GERRY, SCHENK,
                                             FRANCAVILLA, BLATT &
                                             PENFIELD, LLP

                                             /s/ Frederick Schenk
                                             Frederick Schenk
                                             California Bar No. 086392
                                             110 Laurel Street
                                             San Diego, CA 92101
                                             Ph: (619) 238-1811
                                             Fax: (619) 544-9232
                                             fschenk@cglaw.com
